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EXHIBIT D
Case 3:21-cv-00673-JCH Document 42-5 Filed 05/13/22 Page 2 of 6

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KRISTEN SHEA INDIVIDIDUALLY and
TYLER SHEA, PPA KRISTEN SHEA : CIVIL ACTION NO.
Plaintiffs, : 3:21-CV-00673-JCH

CHATERAM SIEUNARINE and
CHET TRANSPORT, LLC :
Defendants. : ‘APRIL 6, 2022

FIRST REQUEST FOR ADMISSION OF DOCUMENT

Pursuant to Rule 36 of the Federal Rules of Civil Procedure, the plaintiffs
Kristen Shea and Tyler Shea ppa Kristen Shea request that the defendants
Chateram Sieunarine and Chet Transport, LLC admit within thirty (30) days
after the filing of this request for the purpose of this action only and subject to
all pertinent objections to admissibility which may be interposed at trial, the
genuineness of the following document:

1. Gonzalo Truck Parts & Repair Invoice #92650 dated 2/5/2019, a copy of

which is attached hereto as Exhibit A.

ADMIT /DENY

THE PLAINTIFF

BY.

KEVIN C. SHEA (ct13781)
ee & Shea, LLC
400 Orange St.

New Haven, CT 06511
203/787-1183
Case 3:21-cv-00673-JCH Document 42-5 Filed 05/13/22 Page 3of6

CERTIFICATION:

This is to certify that a copy of the foregoing was mailed, postage prepaid
and/or electronically delivered on April 6, 2022, to:

Matthew W. Beckwith, Esq.

Melick & Porter, LLC

900 Main Street South

Southbury CT 06488

Via email eckwith@melicklaw.com

a & SHEA, LLC
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EXHIBIT A

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Gonzalo Truck Parts & Repair

i794 Broadway
Jersey City, NJ
07306
Tel.#: (201) 451-4009 FAX: (201) 451-4007

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CHET “TRANSPORT LLC. 1997 FREIGHTLINER FL106 INV # : 92650
CHATERAN SIEUNARINE Plate : AN1LO9S Date : 02/05/2019
130 MORRIS AVE. ODO : O Time :11:23AM
ENGLEWOOD, NJ 07631 V.I.N.: 833164 PO # 1
Unit #: i REG # :
B#: H#:347 724-1238 Engine: Tech. ‘ MARGIE/
Qty Hess Description Bet? Tuto bude labour i
1.00 LABOR OIL CHANGE AND GREASE
1.00 FILTER
Part #: BF5810 ‘
1.00 LUCAS OIL TREATMENT 30.00; 30.00 © -TXL 30,00:
Part #: 10002
7.00 ROTELLA GL BULK * 12.00 84.00 TX1 84.00
21,00 wheel seal 003 AND LABOR 100.00 100.00 TX1 100.00
Part #: 709
4.00 STARTING FKD THRUST 110Z AERO 3.50 14.00 TXL 14,00
Part # M3815
5.00 WHEEL BOLTS 8.00 40.00 TX1 40.00
1.00 TIGHTEN BOX CLAMPS (2) 20.00 TX1 20.00
1.00 D-2 GOVERNOR 20.00 20.00 TAL 20.00
Part # 170.275491
1.00 SHEL]zone antifreeze 10.00 10.00 “TX1 10.00
Part #: 75723
wos 103694 02/05/2019. 11:15AM Copyright 2019 Autogence Inc. - LANKAR 10.0.2

Please Be Advised There Is A Storage Fee of $100.00 Per Day After 24hrs of Work

AS THE OWNER, OR AGENT OF THE OWNER, I
ACCEPT THE VEHICLE WITH THE UNDERSTANDING
THAT THE ABOVE WORK HAS BEEN COMPLETED IN A
PROPER MANNER AND AT AN ACCEPTABLE COST. I
AGREE THAT THE ONLY WARRANTY IN REGARD TO
THE ABOVE WORK IS PROVIDED BY THS
MANUFACTURER OF THE PARTS USED AND THAT
GONZALO TRUCK PARTS & REPAIR DOES NOT
PROVIDE ANY WARRANTY, EXPRESS OR IMPLIED
WHETHER FOR MERCHANTIBILITY, FITNESS FOR
USE OR ANY OTHER PURPOSE. I AGREE THAT
GONZALO TRUCK PARTS & REPAIR HAS NO
LIABILITY OR RESPONSIBILITY FOR ANY LOSS OR
DAMAGE TO THE VEHICLE OR ANY ITEMS ATTACHED

TO, OR LEFT IN THE VEHICLE. Sub Tot. 308.00 100.00 408.00
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PRINT NAME: Total 436.07
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Gonzalo Truck Parts & Repair

179A Broadway
Jersey City, NJ
07306
Tel.#: (201) 454-4009 FAX: (201) 451-4007

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CHET TRANSPORT LLC. ‘1997 FREIGHTLINER FL106 INV #
CHATERAN SIEUNARINE Plate : AN109S Date
130 MORRIS AVE. ODO : 0 Time
ENGLEWOOD, NJ 07631 ValsN.t 833164 : PO #
Unit #: REG #
BH: Hi:347 724-1238 Engine: Tech.
Qty Hrs. Description : Parts Ba. Tot.Parts Labour
Completion.
PAID BY:... :

02/05/2019 DebitCard 436.07

AS THE OWNER, OR AGENT OF THE OWNER, I
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TO, OR LEFT IN THE VEHICLE. Sub Tot. 308.00 100.00
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